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Attorney for Plaintiff
TAMARA BORTREE,


                              UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF PENNSYLVANIA

                                      SCRANTON DIVISION



TAMARA BORTREE,                                        Case No.: 3:13-cv-00416-JMM

               Plaintiff,
                                                       NOTICE OF SETTLEMENT
       vs.
                                                       Judge: Hon. James M. Munley
PERFORMANT RECOVERY,
INC.; and DOES 1 through 10,
inclusive,
             Defendants.



       Plaintiff, TAMARA BORTREE, by and through her attorney, informs this Honorable

Court that Plaintiff has settled her case with Defendants, PERFORMANT RECOVERY, INC.;

and DOES 1 through 10, inclusive. The parties are in the process of finalizing settlement, and

Plaintiff anticipates the settlement will be finalized in 40 days. Plaintiff respectfully requests that

this Honorable Court vacate all dates currently set on calendar for this case.

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                                      NOTICE OF SETTLEMENT
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Dated: May 28, 2013                         RESPECTFULLY SUBMITTED,



                                            By: /s/ Joshua D. Baer
                                                    Joshua D. Baer, Esq.
                                                    Attorney for Plaintiff




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                               NOTICE OF SETTLEMENT
